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6

7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,           )        CASE NO. S 05-90 WBS
                                         )
11                      Plaintiff,       )
                                         )
12        v.                             )        MOTION TO DISMISS
13   JOSHUA ROGERS                 )
                                   )
14                  Defendant.     )
     ______________________________)
15

16        The United States requests leave of court to dismiss the
17   charges against Defendant Joshua Rogers.          Fed. R. Crim. P. 48(a).
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                                                 Respectfully Submitted,
19                                               McGREGOR W. SCOTT
                                                 United States Attorney
20

21
     DATED:     April 27, 2006           By:      /s/ Matt Segal
22                                               MATTHEW D. SEGAL
                                                 Assistant U.S. Attorney
23   SO ORDERED.
24   DATE:     April 27, 2006
25

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